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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA


          -v-                                                     No. 08-cr-789-7 (RJS)
                                                                        ORDER

 LENROY MCLEAN,

                                Defendant.


RICHARD J. SULLIVAN, Circuit Judge:



counsel pursuant to 18 U.S.C. § 3006A to assist him in submitting a motion for compassionate

release. (Doc. 429.) Since then, McLean has filed a pro se motion for compassionate release.

(Doc. 432                                                                             indicating

that, in light of the COVID-19 pandemic and

to contact McLean to determine whether he is aware that his request for counsel was granted and,

if so, whether he intends to withdraw his previously submitted pro se motion.

         Accordingly,

letter to the court by Friday, March 5, 2021 indicating whether McLean wishes to withdraw his

current pro se motion and replace it with a counseled motion, or whether he wishes to proceed

with his pro se motion, as filed. (See Doc. 432.)

SO ORDERED.

Dated:          February 25, 2021
                New York, New York
                                                    ____________________________________
                                                    RICHARD J. SULLIVAN
                                                    UNITED STATES CIRCUIT JUDGE
                                                    Sitting by Designation
